                                                             Case 2:21-cv-00691-DLR Document 49 Filed 11/17/21 Page 1 of 3



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                                                                             IN THE UNITED STATES DISTRICT COURT
                         A T TOR NEY S A T L A W




                                                   14                            FOR THE DISTRICT OF ARIZONA

                                                   15   Erik Johnson, an individual,                       Case No. 2:21-cv-00691-DLR
                                                   16                      Plaintiff,                      PROCTORIO INC.’S NOTICE OF
                                                        v.                                                 SERVICE OF DISCOVERY
                                                   17
                                                        Proctorio, Inc., a Delaware corporation,
                                                   18
                                                                      Defendant.
                                                   19   ____________________________________
                                                   20   Proctorio, Inc., a Delaware corporation,
                                                   21                      Counterclaimant,
                                                        v.
                                                   22
                                                        Erik Johnson, an individual,
                                                   23
                                                                           Counterdefendant.
                                                   24
                                                   25            Pursuant to LRCiv. 5.2, Defendant Proctorio, Inc. (“Proctorio”), by and through its
                                                   26   undersigned counsel, hereby gives notice that its Responses to Plaintiff Erik Johnson’s
                                                   27   First Set of Requests for Documents were served upon Plaintiff, via email to Plaintiff’s
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                                                          Case 2:21-cv-00691-DLR Document 49 Filed 11/17/21 Page 2 of 3



                                                    1   counsel of record, on November 8, 2021.
                                                    2
                                                        Dated: November 17, 2021                  CROWELL & MORING LLP
                                                    3
                                                    4
                                                                                                  By: /s/ Jacob Canter
                                                    5                                                 Jacob Canter*
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                                                                                                      Attorneys for Defendant Proctorio, Inc.
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                                                    1                                 CERTIFICATE OF SERVICE
                                                    2          I hereby certify that on November 17, 2021, I caused the foregoing to be
                                                    3   electronically filed with the Clerk of the Court using the Court E-Filing system, which
                                                    4   sends notification of such filings to all registered participants.
                                                    5
                                                    6                                               By:    /s/ Jacob Canter
                                                                                                           Jacob Canter
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                                                                                                           Attorney for Defendant Proctorio, Inc.
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C ROWELL & M ORING LLP




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